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     Sacramento, California 95814
 3   Telephone: (916) 447-0160
 4
 5   Attorney for Defendant
     JOSE LUIS MORALES
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )      No. CRS 07-314
                                     )
13                  Plaintiff,       )
                                     )      STIPULATION AND ORDER VACATING
14        v.                         )      DATE, CONTINUING CASE, AND
                                     )      EXCLUDING TIME
15   JOSE LUIS MORALES,              )
                         et al,      )
16                  Defendants.      )      Date: September 10, 2013
                                     )      Time: 9:15 a.m.
17   _______________________________ )      Judge: Hon. Karlton
18
19        IT IS HEREBY STIPULATED by and between Assistant United States
20   Attorney KYLE REARDON, Counsel for Plaintiff, and Attorney Dina L.
21   Santos, Counsel for Defendant JOSE LUIS MORALES; Attorney Kelly
22   Babineau, Counsel for Defendant JUAN MORALES; Attorney Bruce Locke,
23   Counsel for Defendant ENRIQUE MORALES; Attorney Timothy Warriner,
24   Counsel for Defendant TERESA MARIA MORALES; Attorney Donald Dorfman,
25   Counsel for Defendant PETRA PRECIADO MORALES; that the status
26   conference scheduled for June 25, 2013, be vacated and the matter be
27   continued to this Court's criminal calendar on September 10, 2013, at
28   9:15 a.m., for further status.
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 1         This continuance is requested by the defense in order to continue
 2   further client consultation concerning available courses of action,
 3   review of the thousands of documents that were provided within the last
 4   few months, and to continue in negotiations with the Prosecutor to
 5   attempt to reach an acceptable disposition.
 6
 7         IT IS FURTHER STIPULATED that time for trial under the Speedy
 8   Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
 9   3161(h)(7)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
10   ends of justice served in granting the continuance and allowing the
11   defendant further time to prepare outweigh the best interests of the
12   public and the defendant in a speedy trial.
13         The Court is advised that all counsel have conferred about this
14   request, that they have agreed to the September 10, 2013 date, and that
15   all counsel have authorized Ms. Santos to sign this stipulation on
16   their behalf.
17         IT IS SO STIPULATED.
18
19   Dated: June 21, 2013                     /s/ Dina L. Santos
                                             DINA L. SANTOS
20                                           Attorney for Defendant
                                             JOSE LUIS MORALES
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22
     Dated: June 21, 2013                     /s/ Kelly Babineau
23                                           KELLY BABINEAU
                                             Attorney for Defendant
24                                           JUAN MORALES
25   Dated: June 21, 2013                     /s/ Bruce Locke
                                             BRUCE LOCKE
26                                           Attorney for Defendant
                                             ENRIQUE MORALES
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     Stipulation and Order                    2
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 1   Dated: June 21, 2013                     /s/ Timothy Warriner
                                             TIMOTHY WARRINER
 2                                           Attorney for Defendant
                                             TERESA MARIA MORALES
 3
     Dated: June 21, 2013                     /s/ Donald Dorfman
 4                                           DONALD DORFMAN
                                             Attorney for Defendant
 5                                           PETRA PRECIADO MORALES
 6   Dated: June 21, 2013                     /s/ Kyle Reardon
                                             KYLE REARDON
 7                                           Assistant United States Attorney
                                             Attorney for Plaintiff
 8
 9
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13                                      O R D E R
14       IT IS SO ORDERED.
15                   By the Court,
16
17 Dated: June 24, 2013
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     Stipulation and Order                   3
